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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 HAMILTON RESERVE BANK LTD.,
                                                             Civil Action No. 1:22-cv-5199
                                            Plaintiff,
                              - v. -
 THE DEMOCRATIC SOCIALIST REPUBLIC OF                        COMPLAINT
 SRI LANKA,

                                            Defendant.


        Plaintiff Hamilton Reserve Bank Ltd. (“Plaintiff”), by and through its undersigned

counsel, alleges as follows, based upon knowledge as to its own acts and upon information and

belief as to all others:

                                   NATURE OF THE ACTION

        1.       This is a breach of contract action arising from Defendant the Democratic

Socialist Republic of Sri Lanka’s (“Sri Lanka’s”) default on its US$1 Billion 5.875%

International Sovereign Bonds due July 25, 2022 (the “Bonds” or “ISB”). Plaintiff holds Bonds

with principal amount of US$250,190,000 (Two Hundred Fifty Million and One Hundred Ninety

Thousand United States Dollars), more than 25.0% of the aggregate principal amount of the

Bonds. The Bonds are governed by New York law and enforceable in this Court. Under the

Bonds’ terms, Defendant owes Plaintiff a total of US$257,539,331.25, comprised of

US$250,190,000 in principal and US$7,349,331.25 in interest.

        2.       The Bonds require full payment of principal and accrued interest in U.S. dollars

upon the earlier of (a) the July 25, 2022 maturity date or (b) acceleration after the occurrence of

an Event of Default, as defined in the Indenture dated as of July 25, 2012 (the “Indenture”) by
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and among Sri Lanka (as issuer) and HSBC Bank USA, National Association (as trustee,

registrar, transfer agent, and paying agent).

       3.       As detailed below, at least two Events of Default have occurred and the Bonds

were accelerated on June 21, 2022 (the “Acceleration Date”). This means the full principal

amount and the accrued interest on Plaintiff’s Bonds are immediately due and payable. Plaintiff

has duly notified the Defendant and its agent HSBC Bank USA pursuant to the notification

provisions of the Indenture and demanded payment. However, Sri Lanka has nonetheless failed

to pay the amount it owes Plaintiff, in breach of its obligations under the Bonds.

       4.       Plaintiff is entitled to the damages resulting from Sri Lanka’s breaches. Those

damages include principal of US$250,190,000 and accrued interest, the additional interest that

continues to accrue daily on Plaintiff’s Bonds, pre-judgment interest through the entry of

judgment and post-judgment interest thereafter until full payment in principal and interest is

made, and costs and legal fees.

       5.       Sri Lanka’s default is a matter of choice, as Sri Lanka is capable of paying

Plaintiff’s Bonds in full. For example:

       (a) In February 2022, Sri Lanka publicly stated in an official press release issued by its
           agent, the Central Bank of Sri Lanka (the “CBSL”) (which is still available today on
           the CBSL’s website) that “the Government and the CBSL have already taken
           necessary measures to secure . . . funding arrangements to meet the upcoming debt
           obligations, including the US dollars 1 billion ISB maturing in July 2022” (i.e., the
           Bonds).1

       (b) Funds to pay Plaintiff’s Bonds in full have already been allocated and included in Sri
           Lanka’s 2022 annual budget, which was adopted and approved by the Sri Lanka
           Parliament, Ministry of Finance, the President and Prime Minister when the Finance
           Minister Basil Rajapaksa presented the government’s 2022 budget to the Sri Lanka
           Parliament for its approval, stating that “I will assure that every dollar that we have to

1
  See Central Bank of Sri Lanka, Reiteration of Sri Lanka’s commitment to service forthcoming
debt obligations (Feb. 9, 2022), available at https://www.cbsl.gov.lk/en/news/reiteration-of-sri-
lankas-commitment-to-service-forthcoming-debt-obligations (emphasis added).


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             pay will be paid.” Further, “Rajapaksa said the government has to make a USD 500
             million debt payment in January 2022 and another billion dollars [the Bonds]. ‘We
             have a plan to pay’, Rajapaksa said responding to the Opposition lawmakers . . . .”2

       6.       Sri Lanka’s default is being orchestrated by officials at the highest levels of its

government. This includes the ruling Rajapaksa clan, whose members currently serve as

President of Sri Lanka and in numerous other senior government positions. The Rajapaksa

family members have repeatedly been accused of lining their own pockets through years of

corruption.3 Former U.S. government officials and investigative journalists have exposed that

the Rajapaksa family has amassed a multibillion-dollar fortune and hidden part of it in bank

accounts in offshore jurisdictions such as Dubai, Seychelles and St. Martin.4

       7.       Basil Rajapaksa, a Member of Sri Lanka’s Parliament and former Minister of

Finance, is a Sri Lanka/U.S. dual citizen with homes and family members based in California.

He has reportedly figured prominently in the Rajapaksa family’s corrupt activity. For example,

U.S. government documents report that in prior government appointments, Basil Rajapaksa

“earned the nickname ‘Mr. Ten Percent’ for demanding a ten percent commission on every


2
 See Sri Lanka will not default on debt repayments despite forex crisis: Finance Minister
(December 11, 2021), available at
https://economictimes.indiatimes.com/news/international/world-news/sri-lanka-will-not-default-
on-debt-repayments-despite-forex-crisis-finance-minister/articleshow/88224928.cms?from=mdr
(emphasis added).
3
  See, e.g., Neil DeVotta, Can Sri Lanka Turn Around its Corrupted Democracy? (Dec. 7, 2021),
available at https://m.thewire.in/article/south/can-sri-lanka-turn-around-its-corrupted-
democracy/amp; Neil DeVotta, The Rajapaksas to blame for Sri Lanka’s disastrous 2021 (Jan.
19, 2022), available at https://www.eastasiaforum.org/2022/01/19/the-rajapaksas-to-blame-for-
sri-lankas-disastrous-2021/; Pinaki Chakraborty, How corruption, politics led Lanka into a debt
hole (Jan. 11, 2022), available at https://m.timesofindia.com/world/how-corruption-politics-led-
lanka-into-a-debt-hole/amp_articleshow/88789054.cms.
4
 See Scilla Alecci, Sri Lankan power couple piled up luxury homes, artworks and cash offshore
as ruling family rose and rose (Oct. 4, 2021), available at
https://www.icij.org/investigations/pandora-papers/sri-lanka-rajapaksa-family-offshore-wealth-
power/


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project,” “makes a habit of trying to ‘buy people,’” and “continues to be accused of significant

corruption in his current position.”5 Those same documents report that Sri Lanka’s then-

President, Mahindra Rajapaksa—Basil’s elder brother and the Prime Minister until May 9,

2022—“consults Basil on most political matters . . . despite his limited education and lack of

relevant work experience.”

       8.       Further, Sri Lanka and the CBSL have publicly announced a “debt restructuring”

that selectively excludes Sri Lanka’s debt securities held by domestic (Sri Lankan) banks and

their interested parties. As a result, these favored Sri Lankan parties stand to be paid principal

and interest in full, while the Bonds—which are also broadly held by U.S. retirement systems

including Fidelity Investments, BlackRock, T. Rowe Price, Lord Abbett, JP Morgan, PIMCO,

Neuberger Berman and other U.S. investors6—remain indefinitely in default and unpaid, causing

American retirees tremendous suffering from potentially massive losses of up to 80% of their

original investment value. The discriminatory actions related to Sri Lanka’s External

Indebtedness (as defined below), including preferential payments to Sri Lankan holders, violate

Sri Lanka’s explicit guarantee of pari passu (i.e., equal) treatment (the “Equal Treatment

Provision”).

       9.       Sri Lanka’s scheme also warrants declaratory relief and specific performance of

the Equal Treatment Provision. This includes specific performance of Sri Lanka’s obligations by

preliminarily and permanently enjoining Sri Lanka from making any payments on its External


5
  See Colombo Telegraph, WikiLeaks: Basil Is Corrupt, Education Limited And Expelled From
School (originally published Jan. 5, 2012), available at
https://www.colombotelegraph.com/index.php/wikileaks-basil-is-corrupt-education-limited-and-
expelled-from-school/
6
  See Bloomberg, Fidelity Among Big Sri Lankan Debt Holders Staring Down Risk
(April 5, 2022), available at https://www.bloomberg.com/news/articles/2022-04-05/fidelity-
among-big-sri-lankan-debt-holders-staring-down-turmoil


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Indebtedness (including its U.S. Dollar-denominated Sri Lanka Development Bonds) unless

ratable payments are made on Plaintiff’s Bonds, and from taking other discriminatory actions in

connection with Sri Lanka’s debt restructuring, as detailed below.

                                             PARTIES

       10.     Plaintiff Hamilton Reserve Bank Ltd. (formerly known as Nevis International

Bank & Trust Ltd.) is a private limited company. Hamilton Reserve Bank Ltd. holds

US$250,190,000 in principal amount of the Bonds, representing more than 25% of the aggregate

principal amount of the Bonds.

       11.     Defendant Sri Lanka is a foreign state.

                     JURISDICTION, VENUE AND CHOICE OF LAW

       12.     As provided in the Indenture (attached as Exhibit A), Sri Lanka has irrevocably

waived any foreign sovereign immunity and immunity from suit, from jurisdiction, from

attachment prior to judgment, from attachment in aid of execution of a judgment, from

execution of a judgment, and from any other legal or judicial process or remedy, with respect to

Sri Lanka and its revenues, assets, or properties, to the fullest extent permitted by law, in any

action arising out of or based on the Bonds brought in this Court. Sri Lanka also consented to

the granting of any relief or the issue of any process by this Court. As a result, Sri Lanka is not

entitled to any immunity from jurisdiction, including under 28 U.S.C. §§ 1605-1607, and this

Court has jurisdiction pursuant to 28 U.S.C. § 1330.

       13.     As provided in the Indenture, Sri Lanka has irrevocably submitted to this Court’s

jurisdiction for any action arising out of or based on the Bonds brought by any holder of a

Bond. Sri Lanka also irrevocably designated and appointed the Ambassador/Permanent

Representative of Sri Lanka to the United Nations in New York, New York, as its authorized




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agent upon which process may be served in any suit or proceeding arising out of or relating to

the Bonds or Indenture that may be instituted in this Court.

        14.      As provided in the Indenture, Sri Lanka waived any objection to any action

arising out of or based on the Bonds being brought in this Court, whether on the grounds of

venue, residence, domicile, or inconvenient forum, and venue is also proper in this district

pursuant to 28 U.S.C. § 1391(f).

        15.      Further, as provided in the Indenture, Sri Lanka has agreed that any final, non-

appealable judgment obtained in this Court shall be conclusive and binding upon Sri Lanka, and

can be enforced in this Court (and in any other court where Sri Lanka is or may be subject to

jurisdiction).

        16.      Sri Lanka expressly agreed that the Bonds and Indenture are governed by and

shall be construed in accordance with the laws of the State of New York.

                                   FACTUAL ALLEGATIONS

I.      The Bonds Require Payment in Full Immediately Upon Acceleration, Which Has
        Occurred

        17.      As set forth below, Sri Lanka is required to make full payment of principal and

accrued interest on Plaintiff’s Bonds. The Bonds were issued in July 2012, with a portion sold in

reliance on Regulation S under the Securities Act of 1933 (the “Securities Act”) (CUSIP

Y2029SAH7 / ISIN USY2029SAH77) and a portion sold in reliance on Rule 144A under the

Securities Act (CUSIP 85227SAK2 / ISIN US85227SAK24). The Bonds’ total principal amount

is US$1 billion.

        18.      The Bonds provide for interest payments of 5.875% per annum (paid semi-

annually on January 25 and July 25 on each year, commencing on January 25, 2013) and full

repayment of principal and accrued interest on July 25, 2022, when the Bonds mature.


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       19.      The Bonds also provide that “If an Event of Default shall occur and be

continuing, the principal of all the Securities may be declared due and payable in the manner and

with the effect provided in the Indenture.” Pursuant to Section 5.1(a) of the Indenture, Events of

Default include Sri Lanka’s failure to pay any interest or principal on any of the Bonds when due

and payable where such failure continues for a period of 7 days (in the case of principal) or 30

days (in the case of interest).

       20.      Pursuant to Section 5.1(c) of the Indenture, Events of Default also include Sri

Lanka’s cross-default on other External Indebtedness with an aggregate amount of at least

US$25 million,7 including (a) the acceleration of such External Indebtedness and (b) any default

in the payment of principal of, or premium or prepayment charge (if any) or interest on, any such

External Indebtedness after such amounts become due and payable and the default continues for

more than any applicable grace period. This Event of Default has occurred and the Bonds have

been accelerated, requiring immediate payment.

       21.      Pursuant to Section 5.1(d) of the Indenture, Events of Default also include Sri

Lanka’s declaration of a general moratorium on the payment of principal of or interest on or the

performance of the obligation in respect of Sri Lanka’s External Indebtedness. This Event of

Default has also occurred.

       22.      Further, pursuant to Section 5.1(b) of the Indenture, Events of Default include Sri

Lanka’s breach of any other covenants or agreements contained in the Bonds or in the Indenture

for a period of 30 days after the date on which written notice specifying such failure and

demanding that Sri Lanka remedy the same shall have been given (a) to Sri Lanka by the


7
  “External Indebtedness” means Indebtedness expressed or denominated or payable, or which, at
the option of the relevant creditor, may be payable in or by reference to any currency other than
the lawful currency of Sri Lanka. “Indebtedness” is further defined in the Indenture.


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Trustee, or (b) to Sri Lanka and the Trustee by the Holders of at least 25.0% of the aggregate

principal amount of the Outstanding Bonds. Plaintiff is the holder of more than 25.0% of the

aggregate principal amount of the Outstanding Bonds. Plaintiff has duly notified the relevant

parties regarding Sri Lanka’s continuing Events of Default.

       23.     When an Event of Default occurs and is continuing, the holders of at least 25.0%

in principal amount of Bonds may accelerate the Bonds. Specifically, pursuant to Section 5.1 of

the Indenture, if any Event of Default “occurs and is continuing, then the Holders of not less than

25% in aggregate principal amount of the Securities then Outstanding by notice in writing to the

Trustee at its specified office, may declare the principal amount of all such Securities to be

immediately due and payable whereupon they shall become immediately due and payable at their

principal amount together with accrued interest without further formality unless such Event of

Default shall have been remedied prior to the receipt of such notice by the Trustee.”

II.    Events of Default Have Occurred and the Bonds Are Immediately Due and Payable

       24.     The Bonds have become immediately due and payable as a result of at least two

continuing Events of Default (as defined in the Indenture).

       25.     First, Sri Lanka stopped servicing its sovereign debt in April 2022, and on April

12, 2022, declared a general moratorium on principal and interest payments on its External

Indebtedness.8 This constitutes a continuing and uncured Event of Default with respect to the

Bonds. To the present day, this Event of Default has not been cured by Defendant.

       26.     Second, a separate and independent Event of Default has occurred as a result of a

cross-default (i.e., Sri Lanka’s default on another security). Specifically, Sri Lanka failed to


8
  See, e.g., Reuters, Sri Lanka unilaterally suspends foreign debt payments, says it needs money
for essentials (April 12, 2022), available at https://www.reuters.com/world/asia-pacific/sri-
lanka-temporarily-suspend-foreign-debt-payments-c-bank-governor-2022-04-12/


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make interest payments due on April 18, 2022 on its 5.75% Bonds due April 18, 2023 (CUSIPs

AS1797776 and 85227SAV8 / ISINs USY8137FAK40 and US85227SAV88) and 6.75% Bonds

due April 18, 2028 (CUSIPs AS1797818 and 85227SAW6 / ISINs USY8137FAL23 and

US85227SAW61) (the “2023 and 2028 Bonds”). The aggregate principal amount of the 2023

Bonds is $1.25 billion and the aggregate principal amount of the 2028 Bonds is $1.25 billion.

The 30-day grace period for these interest payments on the 2023 and 2028 Bonds expired on

May 18, 2022, without Sri Lanka paying the interest owed. When the grace period expired, “Sri

Lanka fell into default for the first time in its history . . . .”9 These missed interest payments on

the 2023 and 2028 Bonds constitute a continuing and uncured Event of Default with respect to

the Bonds. To the present day, this Event of Default has not been cured by Defendant.

        27.    On June 21, 2022, Plaintiff—as the holder of not less than 25.0% in aggregate

principal amount of the Bonds currently outstanding—declared, by notice in writing to the

Trustee (HSBC Bank USA, National Association) at its specified office located in New York

City, that the principal amount of the Bonds and accrued interest is immediately due and payable

in light of the continuing and uncured Events of Default outlined above. A copy of the notice of

acceleration is attached as Exhibit B.

        28.    As a result of this acceleration, the full principal amount and accrued interest on

Plaintiff’s Bonds is immediately due and payable.




9
  Bloomberg, Sri Lanka Falls Into Default For The First Time Ever (May 19, 2022), available at
https://www.bloomberg.com/news/articles/2022-05-19/sri-lanka-enters-default-and-warns-
inflation-may-surge-to-40; see also Financial Times, Sri Lanka becomes first Asia-Pacific
country in decades to default on foreign debt (May 19, 2022), available at
https://www.ft.com/content/0e02eef2-8482-4caa-9b3d-3ccda19b041a (“Sri Lanka’s central bank
has confirmed the country has missed a deadline for foreign debt repayments, the first sovereign
default in the Asia-Pacific region this century, according to Moody’s.”).

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III.   Sri Lanka Has Failed to Pay Plaintiff’s Bonds

       29.     Notwithstanding Plaintiff’s notice of acceleration and demand letter (attached as

Exhibit B), Sri Lanka has failed to pay principal on Plaintiff’s Bonds in the amount of

US$250,190,000, and has also failed to pay any of the accrued interest.

       30.     These amounts, which were due on the Acceleration Date, remain unpaid.

Additional interest and pre-judgment interest also continue to accrue daily on Plaintiff’s Bonds.

IV.    Sri Lanka Announces Its Plan to Violate the Equal Treatment Provision

       31.     The Equal Treatment Provision provides an important guarantee of equal (pari

passu) treatment among the Bonds themselves, and as between the Bonds and other present and

future debt securities issued by Sri Lanka. Sri Lanka’s purported “debt restructuring” will

violate this important guarantee and result in yet another Event of Default.

       32.     The Offering Circular states that the “Bonds will at all times rank pari passu

among themselves in all respects without any preference of one over the other by reason of

priority of date of issue or otherwise. The Bonds will at all times rank at least equally with all

other present and future unsecured and unsubordinated External Indebtedness (as defined herein)

of [Sri Lanka].” Likewise, the Indenture provides that the Bonds “will at all times rank pari

passu among themselves in all respects, without any preference of one over the other by reason

of priority of date of issue or otherwise, and will at all times rank at least equally with all other

present and future unsecured and unsubordinated External Indebtedness.”

       33.     Under the Equal Treatment Provision, Sri Lanka cannot pay any Bond holders—

or pay any other External Indebtedness (i.e., debt issued in any currency other than Sri

Lanka’s)—without also making a ratable payment at the same time to Plaintiff.




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       34.     Recent reports indicate that Sri Lanka and the CBSL will breach the Equal

Protection Provision by making exactly such discriminatory payments, among other conduct in

violation of the Equal Treatment Provision.

       35.     On April 9, 2022, news broke that the CBSL was issuing requests for proposals to

“appoint legal and financial advisors for debt restructuring,”10 and three days later, Reuters

reported that Sri Lanka was suspending external debt payments, as explained above. On April

27, 2022, the CBSL stated that it “intends to restructure only the foreign debt within the debt

restructuring,” including “all . . . sovereign bonds.”11 During these developments, CBSL

Governor Nandalal Weerasinghe reportedly announced that “Sri Lanka Development Bonds,

dollar denominated bonds sold to domestic buyers[,] have been excluded from a planned re-

structuring.”12 Confirming the point, on April 12, 2022, Sri Lanka’s Ministry of Finance

released a purported “Interim Policy Regarding the Servicing of Sri Lanka’s External Public

Debt”13 and a related set of “Frequently Asked Questions”14; the latter confirmed that the “debt

standstill” does not apply to the Sri Lanka Development Bonds.




10
  Economy Next, Sri Lanka to appoint legal, financial advisors for debt restructuring in 2 weeks
(April 9, 2022), available at https://economynext.com/sri-lanka-to-appoint-legal-financial-
advisors-for-debt-restructuring-in-2-weeks-92859/
11
   Ceylon Today, Sri Lanka to restructure only foreign debt – CBSL (April 27, 2022), available
at https://ceylontoday.lk/2022/04/27/sri-lanka-to-restructure-only-foreign-debt-cbsl/
12
   Economy Next, Sri Lanka Development Bonds excluded from re-structuring (April 12, 2022),
available at https://economynext.com/sri-lanka-development-bonds-excluded-from-re-
structuring-92958/
13
  Sri Lanka Ministry of Finance, Interim Policy Regarding the Servicing of Sri Lanka’s External
Public Debt (April 12, 2022), available at https://www.treasury.gov.lk/api/file/54a19fda-b219-
4dd4-91a7-b3e74b9cd683
14
   Sri Lanka Ministry of Finance, Frequently Asked Questions (FAQs): “Interim Policy
Regarding the Servicing of Sri Lanka’s External Public Debt” (April 12, 2022), available at
https://www.treasury.gov.lk/api/file/1e2d4962-d635-4f77-9aa7-2f84ee385fed


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       36.     The Sri Lanka Development Bonds were funded through the U.S. banking system

via the Federal Reserve Bank of New York, as directed in an CBSL wire instruction: “[Investors]

shall make such payment by crediting the “Central Bank of Sri Lanka account number

021083514” maintained at the Federal Reserve Bank, New York, USA.”15 The Sri Lanka

Development Bonds are also denominated in U.S. dollars and thus constitute External

Indebtedness subject to the Equal Treatment Provision. By excluding the USD-denominated Sri

Lanka Development Bonds from the planned debt restructuring, Sri Lanka has made clear that it

will pay the Sri Lanka Development Bonds in full, even as Plaintiff’s Bonds remain unpaid.

Unsurprisingly, the Sri Lanka Development Bonds are largely held by favored domestic (Sri

Lankan) banks. An April 12, 2022 article reported: “Out of 1.79 billion dollars of SLDBs

outstanding, 1,593 million dollars were held by domestic banks, some 166 million by non-banks

and 13.2 million dollars by individuals.”16

       37.     Any payments to holders of the Sri Lanka Development Bonds, without ratable

payments at the same time on Plaintiff’s Bonds, violate the Equal Treatment Provision. See, e.g.,

NML Cap., Ltd. v. Republic of Argentina, 699 F.3d 246, 262 (2d Cir. 2012) (affirming

injunctions that “direct Argentina to comply with its contractual obligations not to alter the rank

of its payment obligations [and] prohibit[] Argentina from transferring money to some

bondholders and not others.”). The fact that Sri Lanka intends to pay over $1.7 billion in Sri

Lanka Development Bonds in full principal and interest also confirms that Sri Lanka is capable


15
   Public Debt Department of the Sri Lanka Central Bank, Sri Lanka Development Bonds
Document of Offer (May 24, 2022), at 3, available at
https://www.cbsl.gov.lk/sites/default/files/cbslweb_documents/about/sldb_direct_window_offer_
document_20220524_e.pdf
16
   Economy Next, Sri Lanka Development Bonds excluded from re-structuring (April 12, 2022),
available at https://economynext.com/sri-lanka-development-bonds-excluded-from-re-
structuring-92958/


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of immediately paying the smaller sum of principal and accrued interest due on Plaintiff’s

Bonds.

         38.   Sri Lanka will also violate the Equal Treatment Provision if it makes preferential

payments with respect to other External Indebtedness (including by paying domestic or other

Bond holders without ratable payments to Plaintiff); issues new External Indebtedness

purporting to have a higher priority than Plaintiff’s Bonds; or takes other discriminatory actions

in connection with its announced debt restructuring. As one example, while Sri Lanka has

declared a general moratorium on principal and interest payments on its External Indebtedness,

the CBSL has publicly stated it may pay creditors in the equivalent amount of Sri Lanka Rupees,

in lieu of U.S. dollars—directly contrary to the Bonds’ requirement that Sri Lanka pay Plaintiff

in U.S. dollars.

         39.   Sri Lanka—which has an annual economy of US$90 billion and is a member

nation of the International Monetary Fund, United Nations, and The World Bank—is fully

capable of performing its obligations pursuant to the Equal Protection Provision. Indeed, Sri

Lanka currently has substantial assets and ties to New York and the United States. Sri Lanka

currently has about US$2 billion in USD reserves and transacts in billions of U.S. dollars each

month through the United States banking system, including USD wires through the Central Bank

of Sri Lanka’s accounts with the Federal Reserve Bank of New York (Account #021083514 and

Account #021083527), Citibank, HSBC Bank USA, Deutsche Bank Trust Company Americas,

Standard Chartered Bank, JP Morgan Chase, Wells Fargo, Habib American Bank, Mashreq Bank

PSC, as well as other USD processing channels through Sri Lanka’s government owned or

affiliated banks, including Bank of Ceylon, HDFC Bank of Sri Lanka, National Savings Bank,




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People’s Bank, Regional Development Bank, Regional Development Department of the Central

Bank of Sri Lanka, Sri Lanka Savings Bank, and State Mortgage and Investment Bank.17

                  FIRST CAUSE OF ACTION: BREACH OF CONTRACT

         40.    Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

39 above.

         41.    The Bonds are an enforceable contract in which Sri Lanka promised, among other

things, to timely pay all principal and interest when due.

         42.    The Bonds require Sri Lanka to pay Plaintiff US$257,539,331.25

(US$250,190,000 in principal, and US$7,349,331.25 in accrued interest as of the July 25, 2022

maturity date). Interest on the Bonds continues to accrue daily until full principal and interest are

paid.

         43.    At least two Events of Default have occurred and are continuing with respect to

the Bonds, and upon Plaintiff’s June 21, 2022 notice of acceleration, principal and accrued

interest on Plaintiff’s Bonds immediately became due and payable.

         44.    Despite Plaintiff’s notice of acceleration and demand letter, Sri Lanka has failed

to pay principal and interest due to Plaintiff with respect to its Bonds.

         45.    Sri Lanka’s breach of the Bonds is continuing.

         46.    By reason of the foregoing, Sri Lanka breached its contractual obligations to

Plaintiff pursuant to the Bonds and is liable to Plaintiff in the amount of unpaid principal and

accrued interest on the Bonds, and the interest that continues to accrue daily on Plaintiff’s Bonds.

               SECOND CAUSE OF ACTION: DECLARATORY JUDGMENT



17
     See Sri Lanka Government Information Center List of Government Owned Banks
     https://www.gic.gov.lk/gic/index.php/en/component/org/?id=17&task=cat

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       47.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

39 above.

       48.     Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

       49.     The Equal Treatment Provision requires pari passu treatment and prohibits Sri

Lanka from making any payment of any External Indebtedness (including payments to other

holders of the Bonds) without also making a ratable payment at the same time to Plaintiff. The

Equal Treatment Provision also prohibits Sri Lanka from issuing new External Indebtedness with

payment obligations that purportedly rank higher than those of Plaintiff’s Bonds.

       50.     Plaintiff is entitled to a declaratory judgment that the Sri Lanka Development

Bonds are External Indebtedness subject to the Equal Treatment Provision; and that Sri Lanka

will violate the Equal Treatment Provision by making any payments on the Sri Lanka

Development Bonds, or on other External Indebtedness (including External Indebtedness issued

in the future), without ratable payments at the same time on Plaintiff’s Bonds; by issuing new

External Indebtedness with payment obligations that purportedly rank higher than those of

Plaintiff’s Bonds; and by restructuring Sri Lanka’s External Indebtedness without equal

treatment of Plaintiff’s Bonds in all respects (including simultaneous ratable payment).

                THIRD CAUSE OF ACTION: SPECIFIC PERFORMANCE

       51.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

39 above.

       52.     Sri Lanka’s scheme to exclude from restructuring and make full payments on over

$1.7 billion in Sri Lanka Development Bonds, any preferential payments with respect to other

External Indebtedness, any issuance of new External Indebtedness purporting to have a higher

priority than Plaintiff’s Bonds (or restructuring to similar effect), and any other discriminatory



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actions in connection with its announced debt restructuring, without ratable payments at the same

time on Plaintiff’s Bonds, will violate the Equal Treatment Provision.

       53.     Plaintiff will suffer irreparable injury as a result of Sri Lanka’s violations of the

Equal Treatment Provision unless the Court specifically enforces that Provision with a

mandatory injunction requiring Sri Lanka to pay Plaintiff ratably whenever it makes any

payment to the holders of External Indebtedness (including the Bonds, the Sri Lanka

Development Bonds, and any other External Indebtedness now existing or issued in the future).

       54.     Remedies available at law are inadequate to compensate for such injury.

       55.     Plaintiff has performed its part of the contract with Sri Lanka.

       56.     Sri Lanka is fully capable of performing its obligations pursuant to the Equal

Protection Provision.

       57.     The balance of the equities tips toward the issuance of an injunction.

       58.     The public interest would not be disserved by a preliminary and permanent

injunction.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment:

               A.       Awarding Plaintiff compensatory damages in the amount of unpaid
                        principal (US$250,190,000) and accrued interest (US$7,349,331.25 as of
                        July 25, 2022) on Plaintiff’s Bonds, plus interest that continues to accrue
                        daily on Plaintiff’s Bonds and pre-judgment and post-judgment interest;

               B.       Declaring the parties’ rights and obligations with respect to the Equal
                        Treatment Provision, as set forth above;

               C.       Ordering specific performance of the Equal Treatment Provision through
                        injunctive relief, as set forth above; and

               D.       Awarding Plaintiff its costs, attorneys’ fees, and such other and further
                        legal and equitable relief as the Court may deem just and proper.


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Dated: New York, New York
       June 21, 2022                     BLEICHMAR FONTI & AULD LLP


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